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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                    – against –
                                                                     ORDER
MARK S. SCOTT,                                                    17-cr-630 (ER)

                           Defendant.



RAMOS, D.J.:
       Mark Scott was convicted on November 21, 2019 of conspiracy to commit bank

fraud and conspiracy to commit money laundering. Before the Court is Scott’s motion

for bail pending appeal. Doc. 639. For the reasons set forth below, the motion is

GRANTED.
I.     BACKGROUND
       A. �e Underlying Oﬀense
       Scott was a part of the OneCoin conspiracy, which marketed and sold what it

purported to be a digital cryptocurrency by the same name but was, in fact, a global

multi-level marketing pyramid scheme. Doc. 577 at 1. As ﬁnancial institutions around

the world began to recognize OneCoin as a fraud, they grew unwilling to provide it
banking services, meaning OneCoin needed to conceal the origin of its funds and the

purpose of transfers through its bank accounts, and it could not open accounts in its

name. Id. at 2. Scott was brought into the scheme to create an elaborate, sophisticated

money laundering operation for OneCoin. Id. Speciﬁcally, from late 2015 to early 2016,

Scott set up a series of investment funds in the British Virgin Islands and Cayman Islands

(collectively, “the Fenero Funds”), each with its own oﬀshore bank account in the

Cayman Islands. Id. at 3. From May to October 2016, the Fenero Funds received wire

transfers of €364 million and $10 million in alleged “investments.” Id. �e transfers

originated from approximately ten diﬀerent bank accounts, all for various shell
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corporations owned by OneCoin co-conspirators, held at banks in Singapore, Germany,

Hong Kong, the United Kingdom, and the United States. Id. On paper, the shell

corporations were “investors” in the Fenero Funds, but the money they transferred into

the Fenero Funds was in fact all money derived from OneCoin. Id. In total, Scott

laundered approximately $400 million of OneCoin proceeds through the Fenero Funds.

Id.

       Scott purposefully sought to conceal from the banks any connection between

OneCoin and the purported investors in the Fenero Funds. Id. at 3. For instance, when
an investment fund administrator sought to conduct enhanced due diligence on the Fenero

Funds in July and August 2016, Scott drafted fraudulent letters of comfort for two other

attorneys to put on their letterhead and sign, created and sent backdated wire instruction

letters, forged a series of agreements to attempt to justify the large volume of transfers to

and from the funds, and directed co-conspirators to sign the documents with diﬀerent

pens and e-sign others to hide the forgery. Id. at 3–4. Several of these transactions also

involved lying to U.S. federally insured banks to eﬀectuate the transfers of OneCoin

proceeds into and out of the Fenero Funds. Id. at 4-5.
       B. Criminal Proceedings Against Scott
       On August 21, 2018, Scott was charged in a one count indictment for conspiracy

to commit money laundering, and an arrest warrant was issued the same day. Docs. 6, 8.

He was arrested on September 5, 2018. Doc. 11. By superseding indictment, Scott was

further charged with conspiracy to commit bank fraud on October 8, 2019. Doc. 143. He

was tried on both counts from November 5 to November 20, 2019, and he was found

guilty on both on November 21, 2019. Doc. 577 at 5–8.

       Scott moved for a judgment of acquittal or, in the alternative, a new trial pursuant

to Federal Rules of Criminal Procedure 29 and 33 on February 4, 2020. Doc. 217. He

alleged there was insuﬃcient evidence to sustain a conviction on either count. Id. He

further challenged whether venue was proper and alleged several errors with the jury


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instructions. Id. He additionally ﬁled a supplemental motion for a new trial pursuant to

Rule 33 on August 23, 2021 based on new allegations that one of the key witnesses

against him, Konstantin Ignatov (a co-conspirator who became a cooperator for the

Government), committed perjury. Docs. 410, 433. On September 14, 2023, the Court

denied Scott’s motions. Doc. 577. It held that the Government provided suﬃcient

evidence to prove Scott guilty of both conspiracy to commit bank fraud and conspiracy to

commit money laundering, and that no new trial was warranted because of Ignatov’s

alleged perjury or on any other basis. Id.
        On January 25, 2024, Scott was sentenced to a term of imprisonment of 120 years

on each count, to run concurrently, followed by a term of supervised release of 3 years on

each count, also to run concurrently. Doc. 623. Scott ﬁled a notice of appeal on February

7, 2024. Doc. 620. Scott moved for bail pending appeal on March 26, 2024. Doc. 639.

�e Government opposes the motion. Doc. 642.
        C. Scott’s Health Issues




II.     LEGAL STANDARD
        Under the Bail Reform Act of 1984, a district court “shall order that a person who

has been found guilty of an oﬀense and sentenced to a term of imprisonment, and who

has ﬁled an appeal” be detained unless the judicial oﬃcer ﬁnds (1) “by clear and

convincing evidence that the person is not likely to ﬂee or pose a danger to the safety of


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  Scott’s unredacted sentencing submission was ﬁled under seal because of the inclusion of his medical
information; Doc. 606 is the public, redacted version of the submission.



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any other person or the community if released” and (2) “that the appeal is not for the

purpose of delay and raises a substantial question of law or fact likely to result in

(i) reversal [or] (ii) an order for a new trial.” 18 U.S.C. § 3143(b). �e relevant statutory

guidance “establishes a presumption in favor of detention.” United States v. Abuhamra,

389 F.3d 309, 319 (2d Cir. 2004); see United States v. Randell, 761 F.2d 122, 124 (2d Cir.

1985) (“Congress intended section 3143 to reverse the then prevailing presumption in

favor of post-conviction bail . . . .”).

        In addition to determining that the person is unlikely to ﬂee or pose a danger to
the community and that the appeal is not for the purpose of delay, the Court must employ

a two-step analysis to determine whether bail pending appeal is warranted. United States

v. Percoco, No. 16-cr-776 (VEC), 2019 WL 493962, at *4 (S.D.N.Y. Feb. 8, 2019) (citing

Randell, 761 F.2d at 124–25). First, the Court must determine whether the appeal raises a

“substantial question of law or fact.” Id. (quoting Randell, 761 F.2d at 124). A

“substantial question” is “a ‘close’ question or one that very well could be decided the

other way.” Randell, 761 F.2d at 125 (quoting United States v. Giancola, 754 F.2d 898,

901 (11th Cir. 1985)). �is does not require the “trial court to certify that it is likely to be

reversed.” Id. (internal quotation marks and citation omitted). Rather, appeals may raise

substantial questions of law or fact even if success on appeal is “doubtful” but “not

impossible.” United States v. Kaufman, No. 19-cr-0504 (LAK), 2021 WL 8055691, at *3

(S.D.N.Y. Oct. 27, 2021). �e question is whether the issues on appeal are frivolous. Id.

        Second, “[i]f a court does ﬁnd that a question raised on appeal is ‘substantial,’ it

must then consider whether that question is ‘so integral to the merits of the conviction on

which defendant is to be imprisoned that a contrary appellate holding is likely to require

reversal of the conviction or a new trial.’” Id. (quoting United States v. Miller, 753 F.2d

19, 23 (3d Cir. 1985)). In addition, the defendant must show that the question, if resolved

in his favor, would result in reversal or an order for a new trial “on all of the counts” for




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which he has been sentenced to a term of imprisonment. Id. at 126. As to both steps,

“the burden of persuasion rests on the defendant.” Id. at 125.
III.   DISCUSSION
       A. Scott is Not Likely to Flee or Pose a Danger to the Community
       Scott argues that he is not a ﬂight risk given his medical conditions and the fact

that both he and his wife have surrendered their passports, nor is he a safety risk given

that he has never been accused of a violent crime. Doc. 639. �e Government does not

dispute that Scott is not a danger to the community, but it does dispute Scott’s argument

that he will not ﬂee, particularly noting that Scott has German dual citizenship and

therefore could not be extradited if he ﬂed to Germany. Doc. 642 at 2–3.

       Based on the record before the Court, given Scott’s medical conditions and

because he has not been charged with a violent crime, the Court does not ﬁnd that Scott is

likely to ﬂee or pose a danger to the safety of any other person or the community if

allowed to remain on bail.
       B. �e Appeal is Not for Purpose of Delay
       Scott argues that the appeal is not a delay tactic, as he has never demonstrated a

pattern of dilatory conduct and timely ﬁled the appeal. Doc. 639 at 4. �e Government

argues that the appeal is for the purpose of delay. Doc. 642 at 3–4. �e Court does not

ﬁnd that the appeal is for purposes of delay.
       C. Scott’s Appeal Presents Substantial Questions of Law and Fact
       Scott argues that his appeal raises substantial questions as to whether: (1) the

Court erred in denying Scott’s post-trial motions without conducting an evidentiary

hearing; (2) the Government’s use of Ignatov’s perjured testimony at trial required

“virtually automatic” reversal of his conviction; (3) reversal was still required on the

basis of Ignatov’s testimony, even if the “virtually automatic” standard does not apply,

because there is a “reasonable likelihood” that the perjury aﬀected the jury’s judgment;

(4) the Court erred in excluding evidence that would have showed the jury that Ignatov



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was lying; (5) the Government presented suﬃcient evidence to convict Scott of either

count, particularly as (a) the money laundering conspiracy required a substantial U.S.

nexus, (b) the bank fraud required deception of an federally insured bank, and (c) venue

was improper as to the bank fraud charge. Doc. 639 at 6–10. Moreover, if the Second

Circuit were to agree with Scott as to any of these issues, it would require that Scott be

acquitted or receive a new trial. Id. at 10–11.

         �e Government argues that all these issues have already been litigated and

decided against Scott, and his appeal therefore presents no substantial questions of law or
fact. Doc. 642 at 4–8. Additionally, the Government argues that, while some of these

issues may be so integral to the merits of Scott’s conviction as to require reversal or a

new trial, not all would. Id. at 8. �e ﬁrst would require only an evidentiary hearing, the

second and third would only require that the Court reconsider its decision on Scott’s post-

trial motions, and each part of the ﬁfth question by itself would disturb only one of the

two charges on which Scott was convicted. Id.

         For all of the reasons set forth in the Court’s opinion concerning Scott’s post-trial

motions, the Court believes it is quite doubtful that Scott will obtain a reversal or new

trial on both counts. See Doc. 577. But the Court cannot say that the questions are

frivolous. And they are suﬃciently integral to the merits of Scott’s conviction that a

contrary appellate holding could likely require a reversal or new trial on all of the counts

for which Scott has been imprisoned.
IV.      CONCLUSION
         Accordingly, Scott’s motion for bail pending appeal is GRANTED.

         It is SO ORDERED.

Dated:     April 18, 2024
           New York, New York

                                                           EDGARDO RAMOS, U.S.D.J.




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